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    ~AO 245B (CASD) (Rev. 1112)    Judgment in a Criminal Case
               Sheet I



                                             UNITED STATES DISTRICT COURT                                                    13 NOV 2I PN 12~ 4 I
                                                  SOUTHERN DISTRICT OF CALIFORNIA                                            . ~. ! , ..      T n~

                    UNITED STATES OF AMERICA                                       AMENDED JUDGMENT                        IN ACRrmNAV~~Si.,
                                                                                   (For Offenses Committed On or After November I, 1987fJ..t-"
                                        v.
                                                                                                                                                        D£PtJr '(
                             William Fountain -3                                   Case Number: 12-cr-01848-JAH-3

                                                                                      Leila W Morgan Federal Defenders
                                                                                   Defendant's Attorney
    REGISTRATION NO. 62940112
    18\ Correction of Sentence (Fed. R. Crim. P.36)(restitution)
    THE DEFENDANT:
    18\ pleaded guilty to count(s) One ofthe Superseding indictment.
    D was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
     Title & Section                         Nature of Offense                                                                              Number(s)
18:371; 18:981 (a)(l )(C)              Conspiracy to Commit Wire Fraud and Money Laundering                                                         1
and 982; 28:2461(c)




         The defendant is sentenced as provided in pages 2 through                5        of this judgment. The sentence is imposed pursuant
  to the Sentencing Reform Act of 1984.
  D    The defendant has been found not guilty on count(s)

  18\ count(S)--.;re;...m;...a_in_in;..:g::.-_ _ _ _ _ _ _ _ _----------------------------------------------
                                                              _ _ _ _ _ _ _ is D arel8\ dismissed on the motion of the United States.

  18\ Assessment: $100.00

  18\ Nofme                                          D Forfeiture pursuant to order filed
                                                                                                 -------------                   , included herein.
        IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change ofname, residence,
  or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
  defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                                                                                             12-cr-01 848-JAH-3
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AO 245B (CASD) (Rev. 1112) Judgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                            Judgment -   Page _...;;2:....- of    5
 DEFENDANT: William Fountain -3
 CASE NUMBER: 12-cr-01848..JAH-3
                                                           IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         FORTY -TWO (42) MONTHS as of 9/2713, concurrent to State sentence in case # 95181.




    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    rgj The court makes the following recommendations to the Bureau of Prisons:
         That the defendant participate in the 500 hours drug treatment program (RDAP)
         That the defendant serve his sentence in a south west region facility.



     o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
           Oat                                     Oa.m.    Op.m.   on _ _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o before -------------------------------------------
          o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                              RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                 to

  at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                           UNI1ED STA1ES MARSHAL


                                                                    By __________~~~~~~~~~-----------
                                                                                       DEPlffY UNITED STA1ES MARSHAL




                                                                                                                       12-cr-01848..JAH-3
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AO 245B (CASD) (Rev. 1112) Judgment in a Criminal Case
               Sheet 3 - Supervised Release
                                                                                                               Judgment Page --l...- of ____5'--__

DEFENDANT: William Fountain -3
CASE NUMBER: 12-cr-01848-JAH-3
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of;
THREE (3) YEARS

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a ~on.troned
substance. The defendant shall submit to one drug test within IS days of release from imprisonment and at least two penodIc drug ~ests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_drug tests per month durmg
the term of supervision, unless otherwise ordered by court.
o        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
         The defendant shall cooperate in the collection of a DNA santple from the defendant, pursuant to section 3 of the DNA Analysis
         Backlog Elimination Act of2000 Pursuant to 18 USC sections 3563(a)(7) and 3583(d).
                                              L                                                                                                      .
         The defendant shall comply with tlie requirements of the Sex Offender Registration ana Notification Act (42 U.S.C. § 16901, et seq.) as directed
         by the probation officer, the Bureau ofPrisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
         was convicted ofa qualifying offense. (Check ifapplicabJe.)
o        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
 any special conditions imposed.

                                          STANDARD CONDITIONS OF SUPERVISION
   1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
           a felony, unless granted permission to do so by the probation officer;
  10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit conftscation of any
           contraband observed in plain view of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an infurmer or a special agent of a law enforcement agency without the
           permission of the court; and
  13)      as directed by the probation officer, the defendant shall notity third parties ofrisks that may be occasioned by the defendant's criminal
           record or personal history or characteristics and shall permit the probation officer to make such notifications and to conflrm the
           defendant's compliance with such notification requirement.

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       AO 24SB (CASD) (Rev. 1112) Judgment in a Cnminal Case
                   Sheet 4   Special Conditions
                                                                                                       Judgment-Page --4-- of _ _5.:.....__
       DEFENDANT: William Fountain -3                                                             D
       CASE NUMBER: ll-cr-Ol848-JAH-3




                                              SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, residence, office or vehicle to a ~e~h, conducted by a U~ited States ~rob~tion Officer ~~ a reasonable ti~e and in a .
    reasonable manner, based upon reasonable suspIcion of contraband or eVidence of a vIOlatIOn of a conditIon of release; faIlure to submIt to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.
D If deported. excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
D Not enter or reside' in the Republic of Mexico without written permission of the Court or probation officer.
D Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
D Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
D Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
    information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
    amount to be determined by the probation officer, based on the defendant's ability to pay.
D Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
181 Provide complete disclosure of personal and business financial records to the probation officer as requested.
181 Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval ofthe
    probation officer.
o   Complete 100 hours of community service in a program approved by the probation officer.
181 Resolve all outstanding warrants within 90 days.
D Complete            hours of community service in a program approved by the probation officer within
D Complete a residential drug treatment program as directed by the Probation Officer.
Ig] Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
    probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
    contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

Ig] Not engage in the employment or profession involving loan processing or modification services, home mortgages, real estate, or any
     employment or profession involving fiduciary responsibilities.




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A0245S      Judgment in Criminal Case
            Sheet 5 - Criminal Monetary Penalties
                                                                                                     Judgment - Page _ _ _ of           5

DEFENDANT: William Fountain                                                                   II
CASE NUMBER: 12-cr-01848-JAH-3
                                                          RESTITUTION

The defendant shall pay restitution in the amount of _ _ _S5_3_2_,6_8_7._0_0_ _ _ unto the United States of America.




         This sum shall be paid         __ immediately.
                                         )C as follows:


           Pay restitution in the amount of$532,687.00 to the victim listed below, through the Clerk, U. S. District Court. Payment
           of restitution shall be forthwith. During any period of incarceration the defendant shall pay restitution through the Inmate
           Financial Responsibility Program at the rate of 50% of the defendant's income, or S25.00
           per quarter, whichever is greater. The defendant shall pay the restitution during his supervised release at the rate of $1 00
           per month. These payment schedules do not foreclose the United States from exercising aU legal actions, remedies, and
           process available to it to collect the restitution judgment. The restitution shall be joint and several with co -defendants
           and co -conspirators Mary Annstrong, Teresa Rose, and Justin Mensen (charged in related case No. 12 -1458b- JAB ).

           Until restitution has been paid, the defendant shall notify the Clerk of the Court and the United States Attorney's Office
           of any change in the defendant's mailing or residence address, no later than thirty (30) days after the change occurs.

           VICTIM:
           SAND CANYON CORPORATION
           7595 IRVINE CENTER DRIVE, STE. 100
           IRVINE, CA. 92618




        The Court has detennined that the defendant      does not    have the ability to pay interest. It is ordered that:

    "         The interest requirement is waived.

             The interest is modified as follows:




                                                                                                    12-cr-01848-JAH-3
